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                                                                                                                                              LarsonP3000093
To: Celeste Ng




                                                                                                                          I mean, hopefully not like my life's savings, but still

And lawyers aren't cheap and I wouldn't want you to have to compromise on anything due to financial
concerns

Well, I'm serious.

I can think of few things I'd rather do than contribute to you pouring Dawn fucking Dorland into smithereens

                                                                     Thank you so much, Celeste. It's very unnecessary, but I'm glad you share in my DD Smithereens Desire

And it would not be an inconvenience. So, I'm just putting it out there, and we need never speak of it again,
but it it comes to that or you find it would make it easier, then please promise you'll come ask me.

One thing I've been trying to do is be a kind of writerly fairy godmother where I can, giving little grants and
things to writers in places where I know they will help. I have been stupidly fortunate in how my career has
gone and it's one way to try and pay it forward.

                                                                 Man oh man, Celeste- you are seriously amazing. I highly highly doubt it will come to that, but I appreciate
                                                                 your offer so damn much.

(Also, obviously, keep that last bit between us.)

                                                                                   You fairy godmother you!! And your career success you EARNED, baby- EVERY PENNY!!!!

                                                                     And of course- I will say nothing. Unless DD, you don't need a thousand people to congratulate you on
                                                                     your good deeds.

Well, fine, but then if I want to use it to fairy godmother other people, then I'm gonna. ~

Ew I almost just barfed again thinking of that FB note calvin sent


                                                                                                                                                                     ◄=OM,i♦
                                                                                                                                           It's so crazy how consistent she is

"I don't miss my little bean at all!" n )

"I'm actually going to GROW my kidney via exercise!"
